
94 A.2d 253 (1953)
NEW ENGLAND TEL. &amp; TEL. CO.
v.
KENNELLY, Public Utility Adm'r.
M. P. No. 1016.
Supreme Court of Rhode Island.
January 21, 1953.
Subsequent Opinion April 10, 1953.
Swan, Keeney &amp; Smith, Eugene J. Phillips, Marshall Swan, all of Providence, Charles Ryan, of Boston, Mass., for New England Tel. Co.
Thomas H. Gardiner, Providence, pro se.
ORDER
This proceeding is before us on a motion filed by Thomas H. Gardiner, a person having an appealable interest herein, to dismiss the appeal by the New England Telephone and Telegraph Company from an order entered by the public utility administrator allegedly fixing certain rates and charges for services furnished to the public by the company. That motion was duly heard and upon consideration it is denied. Our opinion thereon will follow later.
However, in our judgment under public laws 1949, chapter 2174, section 1, amending general laws 1938, chapter 122, § 31, justice and equity require that the appeal shall operate as a stay of the order appealed from unless the New England Telephone and Telegraph Company shall forthwith file in the records of the case in this court a stipulation showing that the account of each telephone subscriber affected by the order appealed from shall be kept by the company in such a way that the amounts of increases in tariffs collected under said order shall be severable and readily computable, and showing also that the company will make a refund to each subscriber of the moneys thus collected from him to the extent that such moneys may exceed the amounts properly collectible under the rates which, on the merits of the appeal, shall be determined to be fair and reasonable.
Entered as the order of this court this twenty-first day of January, A.D. 1953.
                                 By order:
                                     John H. Greene, Jr.
                                                     Clerk
